
FULMER, Judge.
The defendant, Albert Critton, appeals his convictions for three counts of kidnapping. We affirm two of the convictions but reverse the conviction for the kidnapping of Lowell Johnson, Sr. As to that charge, the defendant was entitled to be discharged for violation of the speedy trial rule for the reasons explained in this court’s recent opinion in the appeal of Critton’s codefendant, Adams v. State, 659 So.2d 396 (Fla. 2d DCA 1995).
We reverse the defendant’s conviction on the charge of kidnapping Lowell Johnson, Sr., and remand with directions that the conviction be vacated and the defendant be discharged on this count. Because the defendant’s sentencing scoresheet must be recalculated, we also remand for resentencing on the remaining two convictions which are affirmed.
Affirmed in part, reversed in part and remanded.
PARKER, A.C.J., and ALTENBERND, J., concur.
